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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

JASON LEOPOLD,
BUZZFEED, INC.,

Plaintiffs,
V. Civil Action No. 1:18-cv-2567-BAH

FEDERAL BUREAU OF
INVESTIGATION,

Defendant.

 

 

DECLARATION OF DAVID M. HARDY

I, David M. Hardy, declare as follows:

(1) Tam currently the Section Chief of the Record/Information Dissemination Section
(“RIDS”), Information Management Division (“IMD”), in Winchester, Virginia. I have held this
position since August 1, 2002. Prior to joining the Federal Bureau of Investigation (“FBI”), from
May 1, 2001, to July 31, 2002, I was the Assistant Judge Advocate General of the United States
Navy for Civil Law. In that capacity, I had direct oversight of Freedom of Information Act
(“FOIA”) policy, procedures, appeals, and litigation for the Navy. From October 1, 1980, to April
30, 2001, I served as a Navy Judge Advocate at various commands and routinely worked with
FOIA matters. I am also an attorney who has been licensed to practice law in the State of Texas
since 1980.

(2) In my official capacity as Section Chief of RIDS, I supervise approximately 242
FBI employees, supported by approximately 74 contractors, who staff a total of twelve (12) FBI
Headquarters (“FBIHQ”) units and two (2) field operational service center units whose collective

mission is to effectively plan, develop, direct, and manage responses to requests for access to FBI
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records and information pursuant to the FOIA, as amended by the OPEN Government Act of 2007,
the OPEN FOIA Act of 2009, and the FOIA Improvement Act of 2016; the Privacy Act of 1974;
Executive Order 13526; Presidential, Attorney General and FBI policies and procedures; judicial
decisions; and other Presidential and Congressional directives. My responsibilities also include
the review of FBI information for classification purposes as mandated by E.O. 13526, 75 Fed. Reg.
707 (2010), and the preparation of declarations in support of Exemption 1 claims asserted under
the FOIA. I have been designated by the Attorney General of the United States as an original
classification authority and a declassification authority pursuant to E.O. 13526, §§ 1.3 and 3.1.
The statements contained in this declaration are based upon my personal knowledge, upon
information provided to me in my official capacity, and upon conclusions and determinations
reached and made in accordance therewith.

(3) Due to the nature of my official duties, I am familiar with the procedures followed
by the FBI in responding to requests. for information pursuant to the provisions of the FOIA,
5 U.S.C. § 552, and the Privacy Act of 1974, 5 U.S.C. § 552a, and specifically, I am familiar with
the FBI’s handling of Plaintiffs’ FOIA requests related to the supplemental background
investigation of then-Judge Brett Kavanaugh! that are at issue in this litigation.

(4) In this case, the FBI processed a total of 2,579 pages of responsive records subject
to the FOIA. Of these pages, the FBI released 23 pages in full, released 2,029 pages in part, and
withheld 527 pages in full for the following reasons: the pages were exempt in full pursuant to one

or more applicable FOIA exemptions and the pages were found to be duplicative of other pages

accounted for elsewhere in the FBI’s production. In accordance with Vaughn v. Rosen, 424 F.2d

 

‘Because the FBI’s supplemental background investigation took place before Justice Kavanaugh’s
nomination to the Supreme Court was confirmed, the Justice is referred to herein as Judge
Kavanaugh.

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820 (D.C. Cir. 1973), this declaration is being submitted in support of Defendant’s Motion for
Summary Judgment. It summarizes the administrative history of Plaintiffs’ FOIA requests;
describes the FBI’s searches for responsive records; and explains the FBI’s rationale for
withholding certain information pursuant to FOIA Exemptions (b)(3), (b)(7)(A), (b)(6), (b)(7)(©),
(b)(7)(D), and (b)(7)(E)._ It also explains the basis for asserting Exemption (b)(5), in conjunction
with the presidential communications privilege, over the supplemental background investigation
file on Judge Kavanaugh following consultation with the Department of Justice (“DOJ”) and White
House Counsel’s Office (““WHCO”).
HISTORY OF PLAINTIFFS’ FOIA REQUESTS

REQUEST #1
FOIPA REQUEST No. 1418863-000

(5) Plaintiffs submitted a two-part request to the FBI on October 5, 2018 requesting the
following:
1. A copy of the final report sent to the White House and the Senate
Judiciary Committee on either October 3 or October 4, 2018 on
Supreme Court nominee Brett Kavanaugh.
2. All interview notes; investigative notes; FD-302s relating or
referring to the FBI investigation into allegations leveled against
Judge Kavanaugh.
In addition, Plaintiffs requested expedited processing and waiver of fees associated with this
request. See Exhibit A, hereafter “Request #1.”
(6) The FBI sent Plaintiffs a series of letters on October 11, 2018, concerning this
request.
(a) First, the FBI acknowledged receipt of Request #1 and assigned it FOIPA
Request No. 1418863-000. The FBI also confirmed receipt of Plaintiffs’ fee waiver request and

advised Plaintiffs the request was under consideration. See Exhibit B.

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(b) Second, the FBI notified Plaintiffs that “unusual circumstances” applied to
their request pursuant to 5 U.S.C. § 552(a)(6)(B)(iii), which permits agencies to extend by 10 days
the period during which requesters must be notified whether the agency will comply with a FOIA
request. See Exhibit C.

(c) Third, the FBI advised Plaintiffs that their request for expedited processing
was approved, pursuant to 28 C.F.R. § 16.5(e)(1)(ii). See Exhibit D.

REQUEST #2
FOIPA REQUEST No. 1418859-000

(7) Plaintiffs submitted a four-part request to the FBI on October 6, 2018, requesting
the following:

1. All submissions to the FBI tip line, FBI web portal and emails to
FBI Headquarters relating or referring to Supreme Court nominee
Brett Kavanaugh, allegations leveled against him referring to sexual
assault, his character, his drinking, Georgetown Prep, his years as a

~ high school student and college student, requests by individuals to
be interviewed by the FBI. In a tweet on Thursday evening October
2, 2018, Senator Ed Markey stated:

I just reviewed the FBI’s #Kavanaugh report. The FBI never
interviewed many relevant witnesses.. There are also
thousands of pages of leads from the time line that received
no follow up. It’s clear the White House wanted the FBI to
go through the motions & that’s what it did.

I request these records that Senator Markey has referred to. The FBI
may redact the personable identifiable information of the senders
and non-public figures.

2. All correspondence between the FBI and any individual who
submitted a tip about Judge Kavanaugh to the FBI through the web
portal, emails and/or tip line.

3. All records, which includes but is not limited to emails, memos,
and letters, between FBI personne! who mentioned or referred to
these submissions as part of the investigation into his background as
the bureau was instructed to undertake by the White House and
Senate Judiciary Committee.
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4. All correspondence between the FBI and the Department of

Justice relating or referring to the FBI’s investigation into any

allegations leveled against Brett Kavanaugh by his accusers.
In addition, Plaintiffs requested expedited processing and waiver of fees associated with this
request. See Exhibit E, hereafter “Request #2.”

(8) | The FBI sent Plaintiffs a series of letters on October 11, 2018, concerning this

request. |

(a) First, the FBI acknowledged receipt of Request #2 and assigned it FOIPA
Request No. 1418859-000. The FBI also confirmed receipt of Plaintiffs’ fee waiver request and
advised Plaintiffs the request was under consideration. See Exhibit F.

(b) Second, the FBI notified Plaintiffs that “unusual circumstances” applied to
their request pursuant to 5 U.S.C. § 552(a)(6)(B)(iii). See Exhibit G.

(c) Third, the FBI advised Plaintiffs that their request for expedited processing

was approved, pursuant to 28 C.F.R. § 16.5(e)(1)Gi). See Exhibit H.

REQUEST #3
FOIPA REQUEST No. 1418851-000

(9) Plaintiffs submitted a two-part request to the FBI on October 6, 2018, requesting
the following:

1. A copy of the final report sent to the White House and the Senate

Judiciary Committee on either October 3 or October 4, 2018 on

Supreme Court nominee Brett Kavanaugh.

2. All interview notes; investigative notes; FD-302s relating or

referring to the FBI investigation into allegations leveled against

Judge Kavanaugh.

In addition, Plaintiffs requested expedited processing and waiver of fees associated with this

request. See Exhibit I, hereafter “Request #3.” This request is a duplicate of Request #1, with the
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exception that this request states that Plaintiffs seek both investigative and non-investigative
records.
(10) The FBI sent Plaintiffs a series of letters on October 11, 2018, concerning this

request.

(a) First, the FBI acknowledged receipt of Request #3 and assigned it FOIPA
Request No. 1418851-000. The FBI also confirmed receipt of Plaintiffs’ fee waiver request and
advised Plaintiffs the request was under consideration. See Exhibit J.

(b) Second, the FBI notified Plaintiffs that “unusual circumstances” applied to
their request pursuant to 5 U.S.C. § 552(a)(6)(B)(ili). See Exhibit K.

(c) Third, the FBI advised Plaintiffs that their request for expedited processing
was approved, pursuant to 28 C.F.R. § 16.5(e)(1)(@ii). See Exhibit L.

REQUEST #4
FOIPA REOUEST No. 1418878-000

(11) Plaintiffs submitted a request to the FBI on October 6, 2018, requesting the
following:
1. A copy of all paper submissions made to the FBI by relating or
referring to Supreme Court nominee Brett Kavanaugh and any
accusations leveled against him about his conduct, his character, his
behavior [and any] records attesting to his character. By paper
submissions, I am referring to letters mailed [and] shipped to FBI
and certified letters including those letters submitted by third parties
such as law firms.
See Exhibit M, hereafter “Request #4.”
(12) The FBI sent Plaintiffs a series of letters on October 11, 2018, concerning this
request.

(a) First, the FBI acknowledged receipt of Request #4 and assigned it FOIPA

Request No. 1418878-000. The FBI also confirmed receipt of Plaintiffs’ fee waiver request and

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advised Plaintiffs the request was under consideration. See Exhibit N.
(b) Second, the FBI notified Plaintiffs that “unusual circumstances” applied to ©
their request pursuant to 5 U.S.C. § 552(a)(6)(B)(iii). See Exhibit O.
(c) Third, the FBI advised Plaintiffs that their request for expedited processing
was approved, pursuant to 28 C.F.R. § 16.5(e)(1)(ii). See Exhibit P.

(13) Plaintiffs filed this suit on November 7, 2018, and subsequently amended their
Complaint on December 7, 2018. See Compl., ECF No. 1; Am. Compl., ECF No. 6. The subject
of the initial Complaint was an October 4, 2018, FOIA request by Plaintiffs, which the FBI had
assigned FOIPA Request No. 1418186-000. See Compl. {] 6-7. That request is identical to FOIPA
Request No. 1418863-000. Compare id. | 6, with Am. Compl. 76. The Amended Complaint does
not raise any allegations as to FOIPA Request No. 1418186-000.

(14) By letter dated May 3, 2019, the FBI made its first interim release of records to
Plaintiffs. This release consisted of records of tips received by the FBI. The FBI reviewed 505
pages and released 482 pages in full or in part, with certain information withheld pursuant to FOIA
Exemptions (b)(6), (b)(7)(A), (b)(7)(C), and (b)(7)(E). See Exhibit Q.

(15) By letter dated June 7, 2019, the FBI made its second interim release of tip records
to Plaintiffs. The FBI reviewed and released 517 pages in full or in part, with certain information
withheld pursuant to FOIA Exemptions (b)(6), (b)(7)(A), (b)(7)(C), and (b)(7)(E). See Exhibit R.

(16) By letter dated July 11, 2019, the FBI made its third interim release of tip records
to Plaintiffs. The FBI reviewed and released 514 pages in full or in part, with certain information
withheld pursuant to FOIA Exemptions (b)(6), (b)(7)(C), and (b)(7)(E). See Exhibit S.

(17) By letter dated August 7, 2019, the FBI made its final release of tip records to

Plaintiffs in this litigation. The FBI reviewed and released 516 pages in full or in part, with certain
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information withheld pursuant to FOIA Exemptions (b)(3), (b)(6), (b)(7)(A), (b)(7)(C), and
(b)(7)(E). As part of this response, the FBI further advised Plaintiffs the supplemental background
investigation file on Judge Kavanaugh, consisting of 527 pages, was being withheld in full
pursuant to Exemption (b)(5) in conjunction with the presidential communications privilege, and
that the FBI was also protecting portions of that file pursuant to FOIA Exemptions (b)(6),
(b)(7)(C), (b)(7)(D), and (b)(7)(E). See Exhibit T.

(18) After the FBI completed its August 7, 2019, production, the parties again conferred,
and Plaintiffs agreed not to seek additional records responsive to their requests for submissions to
the FBI tip-line. With FBI’s productions complete, the parties proposed—and the Court adopted—
a schedule for cross-motions for summary judgment.

FBI’S SEARCHES FOR RESPONSIVE RECORDS

(19) As described below, the FBI searched multiple locations in order to locate records
responsive to Plaintiffs’ requests. The FBI searched its Central Records System (“CRS”) to locate
the supplemental background investigation file and any other responsive records that may be
included in the system. The FBI searched its Criminal Justice Information Services (“CJIS”)
Division for records about tips received by the FBI. The FBI searched its Office of Public Affairs
(“OPA”), Office of Congressional Affairs (“OCA”), and Office of the Executive Secretariat
(“ExecSec”), for any records that those offices might maintain related to the supplemental
background investigation. Finally, the FBI searched its Security Division (“SecD”), which
conducted the supplemental background investigation. The FBI concluded that these were the
locations/offices within the FBI likely to maintain responsive records, and that no other locations

or offices were likely to maintain responsive records.
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SEARCH #1; CENTRAL RECORDS SYSTEM
BACKGROUND ON THE CENTRAL RECORDS SYSTEM

(20) The Central Records System (“CRS”) is an extensive system of records consisting
of applicant, investigative, intelligence, personnel, administrative, and general files compiled and
maintained by the FBI in the course of fulfilling its integrated missions and functions as a law
enforcement, counterterrorism, and intelligence agency to include performance of administrative
and personnel functions. The CRS spans the entire FBI organization and encompasses the records
of FBI Headquarters (“FBIHQ”), FBI Field Offices, and FBI Legal Attaché Offices (“Legats”)
worldwide.

(21) The CRS consists of a numerical sequence of files, called FBI “classifications,”
which are organized according to designated subject categories. The broad array of CRS file
classification categories include types of criminal conduct and investigations conducted by the
FBI, as well as categorical subjects pertaining to counterterrorism, _ intelligence,
counterintelligence, personnel, and administrative matters. For identification and retrieval
purposes across the FBI, when a case file is opened, it is assigned a Universal Case File Number
(“UCFN”) consisting of three sequential components: (a) the CRS file classification number, (b)
the abbreviation of the FBI Office of Origin (“OO”) initiating the file, and (c) the assigned
individual case file number for that particular subject matter.2 Within each case file, pertinent
documents of interest are “serialized,” or assigned a document number in the order in which the

document is added to the file, typically in chronological order.

 

2 For example, in a fictitious file number of “11Z-HQ-56789;” the “11Z” component indicates the
file classification, “HQ” indicates that FBI Headquarters is the FBI OO of the file, and “56789” is
the assigned case specific file number.
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The CRS General Indices and Indexing

(22) The general indices to the CRS are the index or “key” to locating records within
the enormous amount of information contained in the-CRS. The CRS is indexed in a manner
which meets the FBI’s investigative needs and priorities, and allows FBI personnel to reasonably
and adequately locate pertinent files in the performance of their law enforcement duties. The
general indices are arranged in alphabetical order and comprise an index on a variety of subject
matters to include individuals, organizations, events, or other subjects of investigative interest that
are indexed for future retrieval. The entries in the general indices fall into two category types:

a. Main entry. A main index entry is a created for each individual or non-individual
that is the subject or focus of an investigation. The main subject(s) are identified
in the case title of most documents in a file.

b. Reference entry. A reference index entry is created for individuals or non-
individuals associated with the case but are not the main subject(s) or focus of an
investigation. Reference subjects are typically not identified in the case title of a
file.

(23) FBI employees may index information in the CRS by individual (persons), by
organization (organizational entities, places, and things), and by event (e.g., a terrorist attack or
bank robbery). Indexing information in the CRS is done at the discretion of FBI investigators
when information is deemed of sufficient significance to warrant indexing for future retrieval.
Accordingly, the FBI does not index every individual name or other subject matter in the general
indices.

AUTOMATED CASE SUPPORT SYSTEM AND THE UNIVERSAL INDEX

(24) Automated Case Support (“ACS”) was an electronic, integrated case management

system that became effective for FBIHQ and all FBI Field Offices and Legats on October 1, 1995.

As part of the ACS implementation process, over 105 million CRS records were converted from

automated systems previously utilized by the FBI into a single, consolidated case management

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system accessible by all FBI offices. ACS had an operational purpose and design to enable the
FBI to locate, retrieve, and maintain information in its files in the performance of its myriad
missions and functions.’

(25) The Universal Index (“UNI”) was the automated index of the CRS and provided all
offices of the FBI a centralized, electronic means of indexing pertinent investigative information
to FBI files for future retrieval via index searching. Individual names were recorded with
applicable identifying information such as date of birth, race, sex, locality, Social Security
Number, address, and/or date of an event. Moreover, ACS implementation built upon and
incorporated prior automated FBI indices; therefore, a search employing the UNI application of
ACS encompassed data that was already indexed into the prior automated systems superseded by
ACS. As such, a UNI index search in ACS was capable of locating FBI records created before its
1995 FBI-wide implementation in both paper and electronic format.*

Sentinel

(26) Sentinel is the FBI’s next generation case management system that became
effective FBI-wide on July 1, 2012. Sentinel provides a web-based interface to FBI users, and it
includes the same automated applications that were utilized in ACS. After July 1, 2012, all FBI
generated records are created electronically in case files via Sentinel; however, Sentinel did not

replace ACS and its relevance as an important FBI search mechanism. Just as pertinent

information was indexed into UNI for records generated in ACS before July 1, 2012, when a record

 

3 ACS was and the next generation Sentinel system is relied upon by the FBI daily to fulfill
essential functions such as conducting criminal, counterterrorism, and national security
investigations; background investigations; citizenship and employment queries, and security
screening, to include Presidential protection.

4 Older CRS records that were not indexed into UNI as a result of the 1995 ACS consolidation
remain searchable by manual review of index cards, known as the “manual indices.”

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is generated in Sentinel, information is indexed for future retrieval. Additionally, in the time frame
in which both systems were in operation, any information indexed within Sentinel was backfiled
in ACS.

(27) On August 1, 2018, the ACS case management system was decommissioned and
ACS data was migrated into Sentinel, including the ACS indices data and digitized investigative
records formerly available in ACS. Moreover, Sentinel retains the index search methodology and
function whereby the CRS is queried via Sentinel for pertinent index main or reference entries in
case files. All CRS index data from the UNI application previously searched via ACS is now
searched through the “ACS Search” function within Sentinel.

(28) Because ACS was still operational at the time the FBI conducted searches for
Plaintiffs’ requests, RIDS practice was to begin its FOIPA searching efforts by conducting an
index search via ACS/UNI. When appropriate (when records were reasonably expected to have
been created on or after July 1, 2012), RIDS then built on its ACS index search by conducting an
index. search of Sentinel records to ensure it captured all relevant data indexed after the
implementation of Sentinel. These two index searches, in most cases represented the most
reasonable means for the FBI to locate records potentially responsive to FOIPA requests. This is
because these automated indices offered access to a comprehensive, agency-wide set of indexed
data on a wide variety of investigative and administrative subjects. Currently, the FBI’s automated
indices consist of millions of searchable records and are updated daily with material newly indexed
in Sentinel.

(29) Additionally, it is important to note the location of records indexed to the subject
of a FOIPA request does not automatically mean the indexed records are responsive to the subject.

Index searches are the means by which potentially responsive records are located, but ultimately,

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a FOIPA analyst must consider potentially responsive indexed records against the specific
parameters of individual requests. Responsiveness determinations are made once indexed records
are gathered, analyzed, and sorted by FOIPA analysts who then make informed scoping decisions
to determine the total pool of records responsive to an individual request.
CRS SEARCH METHODOLOGY GENERALLY

(30) To locate CRS information, RIDS employs an index search methodology. Index
searches of the CRS are reasonably expected to locate responsive material within the vast CRS
since the FBI indexes pertinent information into the CRS to facilitate retrieval to serve its primary
law enforcement and intelligence gathering functions. Given the broad range of indexed material
in terms of both time frame and subject matter that it can locate in FBI files, the FBI automated
indices available at the time of Plaintiffs’ request in both ACS and Sentinel was the mechanism
RIDS employed to conduct CRS index searches.

CRS SEARCH AND RESULTS —

(31) _ In response to Plaintiffs’ requests, RIDS conducted a CRS index search for
potentially responsive records employing the ACS/UNI and the Sentinel automated indices.
Specifically, the FBI conducted a CRS indices search, for both main files and references, using the
term “Brett Kavanaugh” to locate records responsive to Plaintiffs’ requests. The FBI maintains its
background investigation files in the CRS, and any such files would be located through a query of
the indices of the CRS, using Judge Kavanaugh’s name. As a result of this search, the FBI located
the supplemental background investigation file on Judge Kavanaugh. Within the file, the FBI

located records responsive to Plaintiffs’ requests.

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SEARCH #2: CRIMINAL JUSTICE INFORMATION SERVICES DIVISION

(32) Among other responsibilities, the FBI’s Criminal Justice Information Services
Division (“CJIS”) manages, ingests, and routes public tips received through the FBI’s Public
Access Line (“PAL”) and E-Tip, the FBI’s public online platform where the public can submit
investigative tips electronically. Both PAL and E-Tip tips are stored within CJIS’s Public Access
Line Manager (“PALM”) database. To respond to Plaintiffs’ request for tip line information
related to Judge Kavanaugh, CJIS searched for the terms “Brett” and “Kavanaugh” within its
PALM system and provided RIDS with all responsive tip records, received both telephonically or
electronically, located through this search.

SEARCH #3; OFFICE OF PUBLIC AFFAIRS

(33) The FBI’s Office of Public Affairs (“OPA”) is responsible for liaising with the
media; making direct contact with the public through the internet, speeches, reports, and
community outreach activities; and sharing information with the public about the FBI’s the FBI's
responsibilities, operations, accomplishments, policies, and values. As such, RIDS deemed it
possible OPA possessed records related to public submissions of information related to Judge
Kavanaugh and/or records regarding FBI communications with the public concerning its
supplemental background investigation of Judge Kavanaugh. Plaintiffs’ FOIA requests were
provide to OPA, which disseminated them to employees familiar with the subject matter. These
employees searched records in OPA’s possession for any responsive records, relying on Plaintiffs’
FOIA requests. As a result of these efforts, OPA located a news article regarding FBI Director
Wray’s testimony before the Senate regarding the FBI’s supplemental background investigation

of Judge Kavanaugh.

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SEARCH #4: OFFICE OF CONGRESSIONAL AFFAIRS

(34) The FBI’s Office of Congressional Affairs (“OCA”) is the FBI's primary liaison
with Congress and plays a key role in communicating with lawmakers about FBI activities. OCA's
_ mission is to enhance Congressional confidence in the FBI through the disclosure of information
about the mission, accomplishments, operations, and values of the organization by interacting
directly with the FBI's Congressional Oversight Committees, Members, and staff. As such, the
RIDS deemed it possible that OCA would possess records of communications between the FBI
and Congress that would be responsive to Plaintiffs’ FOIA requests. Plaintiffs’ FOIA requests
were provide to OCA, which disseminated them to employees familiar with the subject matter.
These employees searched records in OCA’s possession for any responsive records, relying on
Plaintiffs’ FOIA requests. OCA located one e-mail record regarding a Senate inquiry into the
FBI’s supplemental background investigation of Judge Kavanaugh.

SEARCH #5: OFFICE OF THE EXECUTIVE SECRETARIAT

(35) The FBI’s Office of the Executive Secretariat (“ExecSec”) serves the FBI, DOJ,
and others by managing executive-level and public correspondence and communications. ExecSec
manages the FBI Director's correspondence and communications, and stores such information in
an internal database. ExecSec also ensures that the FBI responds promptly and accurately to
inquiries from a variety of correspondents, to include members of the executive, legislative, and
judicial branches of the U.S. government; representatives of local, state, and federal law
enforcement; and the general public. Accordingly, RIDS deemed it possible that ExecSec may
maintain records responsive to Plaintiffs’ FOIA requests. RIDS provided copies of Plaintiffs’
FOIA requests to ExecSec, which searched its internal database for any responsive records, based

on Plaintiffs’ FOIA requests. ExecSec did not locate any responsive records.

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SEARCH #6: SECURITY DIVISION

(36) Among other responsibilities, the FBI's Security Division (“SecD”) provides
‘timely, accurate, and comprehensive background investigations on individuals nominated for
Presidential appointments, such as Supreme Court Justice nominees. Indeed, the supplemental
background investigation file on Judge Kavanaugh located in the CRS was created and compiled
by SecD. Normally, once an official investigative file is located in the CRS, the FBI does not
conduct additional searches of the investigating division or office. Here, however, RIDS contacted
SecD in an abundance of caution to ensure that it had located all responsive records. SecD
confirmed that all information compiled by SecD during its supplemental background
investigation of Judge Kavanaugh was maintained in the supplemental background investigation
file located in the CRS.

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(37) As demonstrated above, RIDS conducted searches reasonably calculated to locate
records responsive to Plaintiffs’ requests. First, given its comprehensive nature and scope, the
CRS is the principal records system searched by RIDS to locate information responsive to most
FOIPA requests, because the CRS is where the FBI indexes information about individuals,
organizations, events, and other subjects of investigative interest for future retrieval. Second,
given Plaintiffs’ requests sought information about Judge Kavanaugh, such information would
reasonably be expected to be located in the CRS via the index search methodology. Here, the CRS
search was supplemented by searches of other FBI divisions and offices likely to possess
responsive records — i.e., CJIS, OPA, OCA, ExecSec, and SecD. Through its CRS search and

these supplemental targeted searches, RIDS searched all locations where FBI records responsive

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to Plaintiffs’ requests could reasonably be expected to be maintained. Furthermore, the FBI found
no indication that responsive records are likely to be maintained in any other locations.
JUSTIFICATION FOR NONDISCLOSURE UNDER THE FOIA

(38) All records responsive to Plaintiffs’ requests were processed to achieve maximum
disclosure consistent with the access provisions of the FOIA. Every effort was made to provide
Plaintiffs with all material in the public domain as well as all non-exempt information in the
records responsive to the request for the tip submissions. The FBI reviewed 2,029 pages of
responsive records it located through its searches for tip records, which have been Bates-numbered
sequentially — “18-cv-02567-1” through “18-cv-02567-2029” — for ease of reference. The FBI
conducted a document-by-document, line-by-line review of the records, and ultimately released to
Plaintiffs 2,029 pages of responsive, non-exempt records. The FBI protected exempt information
pursuant to FOIA Exemptions (b)(3), (b)(6), (b)(7)(A), (b)(7)(C), (b)(7)(D), and (b)(7)(E). Further
description of the information withheld, beyond what is provided in this declaration, could identify
the actual exempt information the FBI has protected. After consulting with DOJ and WHCO, the
FBI also withheld the supplemental background investigation file in full pursuant to Exemption
(b)(5) and the presidential communications privilege. These documents are represented by Bates
pages “18-cv-02567-2030” through “18-cv-02567-2579.” As described below, WHCO
determined all records within the supplemental background investigation file meet the threshold
requirements of the presidential communications privilege, and the entirety of the supplemental
background investigation file qualified for withholding under Exemption (b)(5). The FBI also
asserted Exemptions (b)(6), (b)(7)(C), (b)(7)(D), and (b)(7)(E) to withhold certain information

within the supplemental background investigation file. The FBI has attached a Vaughn Index

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which provides the Court and Plaintiffs further description of the records reviewed by the FBI.
See Exhibit U.

(39) The Bates-numbered documents contain, on their face, coded categories of
exemptions which detail the nature of the information withheld pursuant to the provisions of the
FOIA. The coded categories are provided to aid the Court’s and Plaintiffs’ review of the FBI’s
explanations of FOIA exemptions used to withhold information. The coded, Bates-numbered
pages together with this declaration and attached Vaughn index demonstrate all material withheld
by the FBI is exempt from disclosure pursuant to the cited FOIA exemptions, or, with respect to
the tip records, is so intertwined with protected material that segregation is not possible without
revealing the underlying protected material. The coded pages will be provided at the Court’s
request.

(40) Each instance of information withheld on the Bates-numbered documents is
accompanied by a coded designation that corresponds to the categories listed below. For example,
if “(b)(7)(C)-1” appears on a document, the “(b)(7)(C)” designation refers to FOIA Exemption
(b)(7)(C) protecting against unwarranted invasions of personal privacy. The numerical
designation of “1” following the “(b)(7)(C)” narrows the main category into a more specific
subcategory, such as “Names and/or Identifying Information of FBI Special Agents and

Professional Staff.”

(41) The following chart lists and summarizes the coded categories used in this case:

 
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(b)(5)-1 Presidential Communications Privilege

      

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) om Names and Identifying Ynformation of FBI Special Agents and

(b)(6)-1 and (6Y(7)(C)-1 Professional Staff
(b)(6)-2 and (b)(7)(C)-2 Personal Information Related to Judge Kavanaugh

Names and Identifying Information of a Third Parties who
(b)(6)-3 and (6)(7)(C)-3 Provided Information

Names and Identifying Information of a Third Parties Merely
(b)(6)-4 and (b)(7(C)-4 | Mentioned

Names and Identifying Information of Non-FBI Government
(6X) and (MMC)? Personnel_

 

 

 

   
 
      

 

Names, Identifying Information About, and/or Information
(b)(7)(D)-1 Provided By Sources Under Express Assurances of

Confid ialit y

   

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oe . . CE RES oo
al E-mail Addresses, Non-Public

  

bE) - FBI Secure Fax Numbers, Inte

 

 

 

 

 

 

Web Addresses, and Internal E-mail Tools
(b)(7)(E)-2 Database Identifiers / Printouts
(b)(7)(E)-3 Collection/Analysis of Information
(b)(7)(E)-4 Sensitive FBI File Numbers

 

EXEMPTION (b)(3) — INFORMATION PROTECTED BY STATUTE
(42) Exemption (b)(3) protects information that is specifically exempted from public
disclosure by a statute that:

(A)(i) requires that the matters be withheld from the public in such
a manner as to leave no discretion on the issue; or (ii) establishes
particular criteria for withholding or refers to particular types of
matters to be withheld; and

(B) if enacted after the date of enactment of the OPEN FOIA Act of
2009, specifically cites to this paragraph.

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5 U.S.C. § 552(b)(3).
(b)(3)-1: National Security Act of 1947, 50 U.S.C. § 3024 (I)(1)

(43) The FBI asserted Exemption (b)(3) to protect information regarding follow up
research that the FBI conducted on a third party—not Judge Kavanaugh—who was identified in
the tip records the FBI processed in response to Plaintiffs’ FOIA requests, in order to protect

- intelligence sources and methods.

(44) The National Security Act of 1947, as amended, requires that the Director of
National Intelligence (“DNI’”) “shall protect intelligence sources and methods from unauthorized
disclosure.”> 50 U.S.C. § 3024(i)(1). As relevant to the FBI’s application of Exemption (b)(3)
here, the National Security Act of 1947 was enacted before the date of enactment of the OPEN
FOIA Act of 2009, and on its face, leaves no discretion to agencies about withholding from the
public information about intelligence sources and methods. Thus, the protection afforded to
intelligence sources and methods by 50 U.S.C. § 3024(i)(1) is absolute. See CIA v. Sims, 471 US.
159 (1985).

(45) In order to fulfill its obligation of protecting intelligence sources and methods, the
DNI is authorized to establish and implement guidelines for the Intelligence Community for the
classification of information under applicable laws, Executive Orders, or other Presidential
Directives, and for access to and dissemination of intelligence. In implementing this authority, the
DNI promulgated Intelligence Community Directive (“ICD”) 700, which provides that IC

elements shall protect “national intelligence and intelligence sources and methods and activities

 

> Section 102A(i)(1) of the National Security Act was previously codified at 50 U.S.C. § 403(4)(1).
As a result of the reorganization of Title 50 of the U.S. Code, Section 102A(i)(1) is now codified
at 50 U.S.C. § 3024@)(1).

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from unauthorized disclosure.” ICD 700 (Jun. 7, 2012) at 2a. The FBI is one of the member
agencies comprising the IC, and as such must protect intelligence sources and methods.

(46) Given the plain Congressional mandate to protect the IC’s sources and methods of
gathering intelligence, the FBI has determined that intelligence sources and methods would be
revealed if any of the withheld information is disclosed to Plaintiffs. Therefore, the FBI is
prohibited from disclosing such information under § 3024(i)(1).

(47) The FBI is asserting Exemption (b)(3) in this case, at times in conjunction with
Exemption (b)(7)(E), to protect information the disclosure of which would reveal intelligence
sources and methods in the tip records processed in this case. Those records contain information
regarding research the FBI conducted about a third party—not Judge Kavanaugh. In conducting
this research, the FBI located information, which it recorded within the tip records, related to FBI
intelligence-gathering initiatives, including national security investigation file numbers.
Revealing this information would reveal the existence of these national security investigations,
which is key information about the FBI’s intelligence gathering sources and methods. Thus, in
accordance with 50 U.S.C. § 3024(i)(1), the FBI asserted Exemption (b)(3) to withhold this
information. |

EXEMPTION (b)(5) — PRIVILEGED INFORMATION

(48) Exemption (b)(5) exempts “inter-agency or intra-agency memorandums or letters
which would not be available by law to a party other than an agency in litigation with the agency.”
5 U.S.C. § 552(b)(5).

| (49) Exemption (b)(5) incorporates the traditional privileges that the government may
assert in civil litigation against a private litigant, including privileges that are constitutionally

based, and exempts from FOIA’s reach documents covered by such privileges.

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(50) DOJ and WHCO were consulted about the supplemental background investigation
file because the FBI conducted the supplemental background investigation of Judge Kavanaugh at
WHCO’s direction, as explained further below. In response to the FBI’s consultation request,
WHCO asserted Exemption (b)(5) over the supplemental background investigation file,
concluding that it is protected by the presidential communications privilege. Accordingly, the
supplemental background investigation file has been withheld in full pursuant to Exemption (b)(5).
(b)(5)-1: Presidential Communications Privilege

Background on the Presidential Communications Privilege

(51) The presidential communications privilege applies to documents and other
materials that reflect presidential decision-making and deliberations that the President believes
should remain confidential. The privilege protects not only direct communications with the
President, but also communications solicited and received by immediate presidential advisors and
members of their staffs in the course of preparing advice for the President, even when those
communications are not made directly to the President. This privilege preserves the President’s
ability to obtain frank information from his advisors and to make decisions in confidence. The
scope of the privilege is defined in terms of communications that involve the Office of the
President, the exercise of the President’s responsibilities, and confidential presidential decision- -
making. One such Presidential responsibility is the nomination of Supreme Court Justices.

Background on FBI Background Investigations

(52) Under Article II Section 2 of the United States Constitution, it is the President’s
responsibility to “nominate, and by and with the Advice and Consent of the Senate . . . appoint”
Supreme Court Justices. In order to assist the President with this constitutional decision-making

role, the DOJ entered into a revised Memorandum of Understanding (“MOU”) with the President

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in 2010 regarding FBI background investigations of nominees, which is still in force today. See
Exhibit V, Memorandum of Understanding Between the Department of Justice and the President
of the United States Regarding Name Checks and Background Investigations Conducted by the
Federal Bureau of Investigation (“2010 MOU”). Pursuant to that MOU, upon the request of the
President, or of an official designated by the President, the FBI conducts background checks of

nominees—including Supreme Court nominees-to ascertain relevant information to assist the

President in his determination of the nominee’s suitability for the position.

(53) The 2010 MOU sets forth the procedures involved when the President seeks to
initiate FBI background checks of nominees. Specifically, the President, or an official who has
been designated by the President, makes a written request to the FBI for a background investigation
of the nominee, which is subject to various signature and certification requirements.

(54) The 2010 MOU covers not only initial full-field background investigations of
nominees, but also limited updates and inquiries, such as follow-up inquiries solicited by the
President in order to resolve particular issues and questions regarding the nominee. Such follow-
up inquiries requested by the President or his designee do not require an updated formal written
request so long as the nominee’s confirmation is still pending. Accordingly, they can be relayed
in less formal means.

Background on the Kavanaugh Background Investigations

(55) The President designated the White House Counsel to request the initial full-field
background investigation of then-Judge Kavanaugh, and on July 10, 2018, WHCO initiated a
Level I FBI background investigation. That investigation is not the subject of this case.

(56) After the emergence of allegations against Judge Kavanaugh on or around

September, 2018, an authorized official within the White House Counsel’s Office sent a series of

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emails to the FBI on behalf of the President soliciting the follow-up inquiry, also known as the
supplemental background investigation, which is at issue in this litigation.

(57) The information derived from and related to that follow-up inquiry—referred to
herein as the “supplemental background investigation file’—is documented in a 527-page
collection of a series of e-mail communications, e-mail attachments, FD-302s, exhibits, and related
administrative documents.

(58) Specifically, the supplemental background investigation file consists of: (1) e-mail
communications between FBI agents and the White House official who was authorized to initiate
the supplemental inquiry, in which the official requested that the FBI conduct the supplemental
background investigation and identified individuals to interview and topics to discuss in the
interviews; (2) attachments to the e-mail communications between FBI agents and the White
House official, including a media story reporting allegations against Judge Kavanaugh, a copy of
Dr. Christine Blasey Ford’s written testimony submitted to the Senate Judiciary Committee on
September 26, 2018, the transcript of the Senate Judiciary Committee’s September 27, 2018,
hearing on Judge Kavanaugh’s Supreme Court nomination, and letters from third parties to
members of the Senate Judiciary Committee; (3) e-mail communications between FBI agents and
third parties (or the third parties’ counsel), and internal FBI e-mails, regarding scheduling of
interviews and other logistics; (4) FD-302s documenting the FBI’s interviews, including a 302
attachment showing private social media messages and text messages that were the subject of
interview discussions; (5) FBI agents’ hand-written interview notes; (6) fax cover sheets and
transaction receipts; and (7) FD-1036 import forms, which are similar to fax cover sheets and are
used to import FBI-related documents for which there is no standard webform, such as a Word

documents, Excel spreadsheet, or PDFs, into the FBI’s database.

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(59) Over the course of its supplemental background investigation, the FBI
incrementally faxed the entire supplemental background investigation file—including the e-mail
communications that the White House Counsel official initially sent to FBI soliciting the
supplemental background investigation—to the White House Counsel’s Office, with the potential
exception of the FBI agents’ hand-written interview notes and a small number of administrative
note pages. The FBI and White House Counsel’s Office have been unable to confirm that those
pages were included in the fax transmissions. In addition to the White House Counsel’s Office
confirming that it received the remaining pages in the supplemental background investigation file,
many of those pages themselves show that they were transferred to the White House Counsel’s
Office. For instance, the e-mails between FBI agents and the White House official, in which the
official requested the supplemental background investigation and identified individuals to
interview as well as interview topics, is plainly information authored and solicited by the White
House. Further, the fax cover sheets show that other documents in the supplemental background
investigation file, such as the FD-302s and attached images of private social media messages and
text messages, were transferred to the White House Counsel’s Office.

Background on Loaning the Kavanaugh Supplemental
Background Investigation File to Congress

(60) A separate Memorandum of Understanding, entered into in 2009, governs the
loaning of judicial background investigations by the President and his advisors in the White House
Counsel’s Office to the Senate Judiciary Committee. The 2009 MOU contains numerous strict
confidentiality provisions governing the sharing, access, and return of FBI background
investigation reports.

(61) The FBI has been advised that the FD-302s, the referenced attachments of images

of text messages and social media messages, and the tip-line materials, were loaned to the Senate

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Judiciary Committee on October 4, 2018, by a White House Counsel’s Office attorney acting at
the direction of the White House Counsel. The FBI has further been advised that the documents
were subsequently returned to the DOJ’s Office of Legal Policy, and that, in loaning this
information to the Committee, the White House did not intend to waive any privileges but instead
loaned the materials in an effort to inform the President’s decision to continue with his nominee,
based on feedback he received from Senators. To the contrary, the documents were loaned
pursuant to the mandate and strict confidentiality protections set forth in the 2009 MOU.
Application of the Presidential Communications Privilege

(62) WHCO reviewed the supplemental background investigation file and concluded
that because that file was requested on behalf of, and provided to, the President to assist him in a
fundamental constitutional matter of Presidential decision-making—whether to continue the
nomination of Judge Kavanaugh to the Supreme Court—the materials are covered by the
presidential communications privilege. Specifically, the supplemental background investigation
file was solicited by a White House official on behalf of the President in order to aid in presidential
decision-making, and, with the potential exceptions described in paragraph 59 of this declaration,
the resulting supplemental background investigation file created by the FBI was transmitted to the
White House Counsel for that purpose. Moreover, WHCO concluded that disclosure of this
material would inhibit the President’s ability to engage in effective communications and decision-
making by interfering with the ability of the President to seek and obtain candid information.
Accordingly, WHCO concluded that these materials fall squarely within the protections afforded
by the presidential communications privilege and must be withheld in full. Because WHCO

concluded that the privilege applies to the materials in their entirety, no segregation is possible.

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Accordingly, the supplemental background investigation file was withheld in full pursuant to
_ Exemption (b)(5) in conjunction with the presidential communications privilege.

EXEMPTION (b)(7) — RECORDS COMPILED FOR LAW ENFORCEMENT PURPOSES

(63) Exemption (b)(7) protects six categories of information or records compiled for law
enforcement purposes. The FBI withheld information under four subparts of Exemption (b)(7) to
protect various law enforcement interests, including protecting on-going enforcement proceedings,
the privacy of individuals mentioned in law enforcement files, confidential sources, and law
enforcement techniques and procedures.

EXEMPTION (b)(7) THRESHOLD

(64) Before an agency can invoke any of the harms enumerated in Exemption (b)(7), it
must first demonstrate the records or information at issue were compiled for law enforcement
purposes. Pursuant to 28 U.S.C. §§ 553 and 534, Executive Order 12333, as implemented by the
Attorney General’s Guidelines for Domestic Operations, and 28 C.F.R. § 0.85, the FBI is the
primary investigative agency of the federal government with authority and responsibility to
investigate all violations of federal law not exclusively assigned to another agency, to conduct
investigations and activities to protect the United States and its people from terrorism and threats
to national security, and to further the foreign intelligence objectives of the United States. -

(65) The responsive records in this case were compiled pursuant to the FBI’s
investigative authority. An effective judicial nomination process relies on proper vetting of
nominees to ensure that they are fit to serve. Background investigations are an integral part of
such vetting of judicial and other nominees, as well as federal employees and contractors.
Accordingly, background investigations conducted to assess a nominee’s or applicant’s

qualifications inherently relate to law enforcement, and as such, records compiled during

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background investigations are compiled for law enforcement purposes. Here, the FBI is authorized
to conduct such investigations pursuant to the 2010 MOU between the White House and the DOJ
discussed previously. See also Exhibit V. Accordingly, the FBI concluded that the supplemental
background investigation file was compiled for law enforcement purposes, as required by
Exemption (b)(7).

(66) Additionally, the responsive records consist of tips received from the public by the
FBI alleging possible criminal conduct. The core purpose of tips is to allow the public to report
possible criminal conduct, with the end purpose being enforcement of laws by the FBI should the
FBI find evidence of criminal behavior. Tips are an important law enforcement tool the FBI uses
to leverage the assistance of the public in discovering and investigating criminal behavior. Thus,
the tips also satisfy Exemption (b)(7)’s threshold requirement.

EXEMPTION (b)(7)(A) — PENDING ENFORCEMENT PROCEEDINGS

(67) FOIA Exemption (b)(7)(A) protects “records or information compiled for law
enforcement purposes [when disclosure] could reasonably be expected to interfere with
enforcement proceedings.” 5 U.S.C. § 552(b)(7)(A).

(68) In addition to satisfying Exemption (b)({7)’s threshold, an agency must establish
that (a) there is a pending or prospective law enforcement proceeding and (b) disclosure of
responsive records could reasonably be expected to adversely affect it.

(69) While the FBI often asserts Exemption (b)(7)(A) categorically to protect the entire
contents of an investigative file, here the FBI asserted Exemption (b)(7)(A) in a limited fashion to
protect discrete information contained within tips that was evaluated by the FBI, determined to be
a credible threat, and resulted in the initiation of current, ongoing investigative efforts. The FBI

tip line is a way to collect information of criminal activity and complaints of the public. This

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information collected is analyzed, and in specific instances, used to open investigations. The
release of this information concerning pending investigations would reveal unknown information
concerning pending enforcement procedures, to include the existence of unknown
investigations/and proceedings. The FBI determined that release of any of this information would
reveal the government’s investigation to the targets, which could permit them to take steps to
thwart the investigation, identify and tamper (or attempt to tamper) with witnesses, and/or destroy,
conceal, or fabricate evidence. As such, revealing this information could reasonably be expected
to interfere with pending enforcement proceedings. Thus, the FBI has applied Exemption
(b)(7)(A) to protect this information.
EXEMPTIONS (b)(6) AND (b) (7)(C) — INVASIONS OF PERSONAL PRIVACY

(70) Exemption (b)(6) exempts from disclosure “personnel and medical files and similar
files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy.”
5 U.S.C. § 552(b)(6). All information that applies to a particular person falls within the scope of
Exemption (b)(6).

(71) Exemption (b)(7)(C) similarly exempts from disclosure “records or information
compiled for law enforcement purposes [when disclosure] could reasonably be expected to
constitute an unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(7)(C).°

(72) When withholding information pursuant to these two exemptions, the FBI is

required to balance the privacy interests of the individuals mentioned in these records against any

 

6 The practice of the FBI is to assert Exemption (b)(6) in conjunction with Exemption (b)(7)(C).
Although the balancing test for Exemption (b)(6) uses a “would constitute a clearly unwarranted
invasion of personal privacy” standard and the test for Exemption (b)(7)(C) uses the lower standard
of “could reasonably be expected to constitute an unwarranted invasion of personal privacy,” the
analysis and balancing required by both exemptions is sufficiently similar to warrant a
consolidated discussion. The privacy interests are balanced against the public’s interest in
disclosure under both exemptions.

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public interest in disclosure. In asserting these exemptions, each piece of information was
scrutinized to determine the nature and strength of the privacy interest of every individual whose
name and/or identifying information appears in the documents at issue. When withholding the
information, the individual’s privacy interest was balanced against the public’s interest in
disclosure. For purposes of these exemptions, a public interest exists only when information about
an individual would shed light on the FBI’s performance of its mission to protect and defend the
United States against terrorist and foreign intelligence threats, to uphold and enforce the criminal
laws of the United States, and to provide leadership and criminal justice services to federal, state,
municipal, and international agencies and partners. In each instance wherein information was
withheld pursuant to Exemptions 6 and 7(C), the FBI determined that the individuals’ privacy
interests outweighed any public interest in disclosure.

(b)(6)-1 Names and Identifying Information of FBI Special Agents and
(b)(7)(C)-1: Professional Staff

(73) Within coded category (b)(6)/(b)(7)(C)-1, the FBI protected the names and
identifying information of FBI Special Agents (“SAs”) and professional staff. These FBI SAs
and professional staff were responsible for conducting, supervising, and/or maintaining the
supplemental background investigation of Judge Kavanaugh; maintaining records related to this
investigation; and managing and/or responding to tips received by the FBI. These responsibilities
included, but were not limited to coordinating/completing tasks in support of the FBI’s
investigative and administrative functions, compiling information, conducting interviews, and/or
reporting on the status of the investigation.

(74) Special Agents. Assignments of SAs to any particular investigation are not by
choice. Publicity, adverse or otherwise, arising from association with a particular investigation,

may seriously prejudice their effectiveness in conducting other investigations or performing their

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day-to-day work. Moreover, FBI SAs, as individuals, have- privacy interests in being free from
unnecessary, unofficial questioning as to the conduct of this investigation, as well as other
investigations on which they have worked. FBI SAs were and may still be in positions of access
to information regarding official law enforcement investigations, and therefore could become
targets of attempts to gain unauthorized access to investigations, or information about such
investigations, if their identities were released. Moreover, publicity associated with the release of
an SA’s identity in connection with a particular investigation could trigger hostility toward a
particular SA. Persons targeted by such investigations, those sympathetic to targeted individuals,
and those unhappy with the outcome of an investigation may harass, or do worse to, an SA based
on their participation in an investigation. Accordingly, the FBI has concluded that SAs mentioned
in the responsive records have substantial privacy interests.

(75) In contrast, there is no public interest served by disclosing the SAs’ identities
because their identities would not, themselves, significantly increase the public’s understanding of
the FBI’s operations and activities.

(76) Thus, on balance, disclosure of this information would constitute a clearly
unwarranted invasion of their personal privacy, and the FBI properly protected its SAs’ privacy
pursuant to Exemptions (b)(6) and (b)(7)(C).

(77) Professional Staff. The FBI also withheld the names and identifying information
of FBI professional staff pursuant to Exemptions (b)(6) and (b)(7)(C). These FBI professional
staff were assigned to handle tasks related to supplemental background investigation of Judge
Kavanaugh; maintain records related to this investigation; and manage and/or respond to tips
received by the FBI. These FBI employees have substantial privacy interests for the same reasons

described above for FBI SAs. These FBI professional staff were and could still be in positions of

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access to information regarding official law enforcement investigations, and therefore could
become targets of harassing inquiries for unauthorized access to investigations if their identities
were released.

(78) Incontrast, the FBI concluded that no public interest would be served by disclosing
the identities of these FBI professional staff to the public because their identities would not,
themselves, significantly increase the public’s understanding of the FBI’s operations and activities.

(79) Accordingly, after balancing these employees’ substantial privacy interests against
the non-existent public interest, the FBI determined disclosure of their identities would constitute
a clearly unwarranted invasion of their personal privacy, and therefore, properly protected their
privacy interests pursuant to Exemptions (b)(6) and (b)(7)(C).

(b)(6)-2
(b)(7)(C)-2: Personal Information Related to Judge Kavanaugh

(80) In coded category (b)(6)/(b)(7)(C)-2, the FBI protected the file number for Judge
Kavanaugh’s supplemental background investigation file. Since this file number is singular and
pertains specifically to Judge Kavanaugh, it is a personal identifier for him in FBI’s records system.
Any reference to it would therefore be the same as a reference to his name. The file number can
be used to track where any information related to the supplemental background investigation file
of Judge Kavanaugh—and thus to Judge Kavanaugh himself—is referenced within FBI records
and systems. Conversely, disclosing this file number would not significantly increase the public’s
understanding of the FBI’s performance of its mission. Thus, the FBI concluded that there was no
public interest here sufficient to override Judge Kavanaugh’s privacy interests in this information
and protected the file number pursuant to FOIA Exemptions (b)(6) and (b)(7)(C).

(81) Additionally, within this coded category, the FBI protected Judge Kavanaugh’s

home address. Release of this information would clearly invade Judge Kavanaugh and his family’s

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privacy interests. Against this clear privacy interest, the FBI found no public interest in disclosure
of this information as disclosure would not increase significantly increasé public understanding of
FBI activities and operations.

(82) Finally, in both the tip records and supplemental background investigation file, the
FBI protected information related to certain unsubstantiated allegations made about Judge
Kavanaugh by third parties, other than information related to the allegations leading to the
supplemental background investigation. The FBI concluded that disclosure of these allegations
could reasonably be expected to subject Judge Kavanaugh to further derogatory inferences and
criticism. Furthermore, they could reasonably be expected to cause undue attention and
embarrassment to his family. These allegations were not substantiated and were not previously
officially, publicly disclosed. Accordingly, the FBI concluded that Judge Kavanaugh and his
family maintain privacy interests in relation to this information. And while disclosure of this
information might shed some miniscule light on the operations and activities of the FBI in relation
to this matter, the FBI concluded that the Kavanaughs’ substantial privacy interests outweigh any
potential public interest that may exist. Accordingly, the FBI properly protected this information
pursuant to FOIA Exemptions (b)(6) and (NIC).

(b)(6)-3 Names and Identifying Information of
(b)(7)(C)-3: Third Parties who Provided Information to the FBI

(83) In coded category (b)(6)/(b)(7)(C)-3, the FBI protected the names and identifying

information of individuals who were interviewed and/or provided information by other means to

 

7 On further review of the records at issue, the FBI determined portions of the information protected
by (b)(6) and (b)(7)(C) within the tips also qualifies for protection pursuant to the justification
described in this category. The same is true for the SBI file. This was not indicated in the FBI’s
original processing of these records. However, the FBI has fully indicated where this category is
applicable within its attached Vaughn index. See Exhibit U.

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the FBI during the course of its supplemental background investigation of Judge Kavanaugh or
through tips.

(84) The FBI has found information provided by individuals based on their personal
knowledge is one of the most productive investigative tools for law enforcement agencies. The
largest obstacle to successfully obtaining such information critical to FBI investigations, through
an interview or otherwise, is fear by the individuals providing the information that their identities
will be exposed publicly. Such exposure, in conjunction with their cooperation with law
enforcement, could lead to harassment, intimidation by investigative subjects or their allies, legal
or economic detriment, possible physical harm, or even death. In order to surmount their fear of
reprisal, and the resulting tendency to withhold information, persons who provide such information
to the FBI must be confident their names and personally-identifying information will be protected.
The FBI has determined these individuals maintain substantial privacy interests in not having their
identities disclosed in relation to assisting the FBI. In contrast, the FBI could identify no public
interest in the disclosure of this information because disclosure of these third parties’ names and
identifying information would not by itself significantly increase the public’s understanding of the
operations and activities of the FBI. Accordingly, the FBI properly protected these individuals’
privacy interests pursuant to Exemptions (b)(6) and (b)(7)(C). |The FBI is also relying on
Exemption (b)(7)(D) to protect individuals’ identities in instances where they were provided
express assurances of confidentiality.

(b)(6)-4 Names and Identifying Information of
(b)(7)(C)-4: Third Parties Merely Mentioned in the Responsive Records

(85) In coded category (b)(6)/(b)(7)(C)-4, the FBI protected the names and identifying
information of third parties merely mentioned in the records responsive to Plaintiffs’ requests.

These individuals were not of investigative interest to the FBI and maintain substantial and

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legitimate privacy interests in not having their personal information disclosed. Disclosure of the
third parties’ names and identifying information in connection with an FBI investigative matter
can carry negative connotations. Disclosure of their identities may subject these individuals to
possible harassment or criticism and focus derogatory inferences and suspicion on them. In
contrast, the FBI could discern no public interest in disclosure because these individuals’ identities.
would not, by themselves, significantly increase the public’s understanding of FBI operations and
activities. Thus, the FBI properly withheld these individuals’ names and identifying information

pursuant to FOIA Exemptions (b)(6) and (b)(7)(C).

(b)(6)-5
(b)(7)(C)-5: Names and Identifying Information of Non-FBI Government Personnel

(86) In coded category (b)(6)/(b)(7)(C)-5, the FBI protected the names and identifying
information of non-FBI federal government personnel identified in the records responsive to
Plaintiffs’ requests. These employees are not high-ranking officials, such as Senior Executive
Service or the equivalent. Disclosure of the identities of these non-FBI federal government
personnel could subject these individuals to unauthorized inquiries about the supplemental
background investigation, or even harassment because of their relationship to it, and would
constitute a clearly unwarranted invasion of their personal privacy. As with the FBI employees
discussed above, these employees have substantial privacy interests here. In contrast, these
employees’ identities would not, by themselves, significantly increase the public’s understanding
of FBI or Executive Branch operations and activities. Accordingly, the FBI properly protected the

names and identifying information of these government employees pursuant to FOIA Exemptions

(b)(6) and (b(7)(C).

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EXEMPTION (b)(7)(D) — CONFIDENTIAL SOURCE INFORMATION

(87) Exemption (b)(7)(D) protects records or information compiled for law enforcement

purposes when disclosure:

could reasonably be expected to disclose the identity of a

confidential source, including a state, local or foreign agency or

authority or any private institution which furnished information on

a confidential basis, and, in the case of a record or information

compiled by a criminal law enforcement authority in the course of a

criminal investigation or by an agency conducting a lawful national

security intelligence investigation, information furnished by a

confidential source.
5 U.S.C. § 552(b)(7)(D). Exemption (b)(7)(D) provides categorical protection for the identities of
confidential sources, as well as information provided by such sources in criminal or national
security investigations. No balancing of interests is required under this exemption and the public’s
interest in the information is not a factor. Rather, once the FBI establishes that the source provided
information under express or implied assurances of confidentiality, the identity of the source and
all information the source provided in a criminal or national security investigation are exempt
under Exemption (b)(7)(D).

(88) Numerous confidential sources report to the FBI on a regular basis, whether under
express or implied assurances of confidentiality. Information provided by these individuals is
singular in nature, and if released, could reveal their identities, and third parties of investigative
interest the sources were reporting on. The FBI has learned through experience sources assisting,
cooperating with, and providing information to the FBI must be free to do so without fear of
reprisal. The FBI has also learned sources must be free to furnish information to the FBI with

complete candor and without the understandable tendency to hedge or withhold information

because of fear their cooperation with the FBI will later be made public. Sources providing

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information to the FBI should be secure in the knowledge that their assistance and their identities
will be held in confidence.

(89) The release of a confidential source’s identity would forever eliminate that source
as a means of obtaining information. In addition, when the identity of one source is revealed, that
revelation has a chilling effect on the activities and cooperation of other sources. Such a result
would eliminate one of the FBI’s most important means of collecting information and thereby
severely hamper law enforcement efforts to detect and apprehend individuals engaged in the
violation of federal criminal laws.

Names, Identifying Information About, and/or Information Provided By
(b)(7)(D)-1: Sources Under Express Assurances of Confidentiality

(90) In coded category (b)(7)(D)-1, the FBI protected from disclosure the names,
identifying information about, and information provided by third parties to the FBI during the
course of the supplemental background investigation of Judge Kavanaugh under express
assurances of confidentiality. In this case, these individuals, who provided specific and detailed
information that is singular in nature, specifically requested that their identities not be revealed.
Providing express assurances of confidentiality is essential to the FBI’s ability to obtain relevant
and accurate information from confidential sources. Without these assurances by the FBI, those
with access to information critical to FBI investigations may be reluctant to provide information
or may modify their statements in order to lessen the severity of any backlashes; therefore, the FBI
must provide credible assurances of confidentiality to these individuals in order to obtain factual,
relevant, and timely information. Release of these individuals’ identities and/or any singular
information they provided may lead to the revelation of their identities and would also display
unwillingness by the FBI to honor its assurances of confidentiality to current and future

confidential sources. Therefore, releasing this information would have a lasting negative impact

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on the FBI's about to obtain information from confidential sources in the future, who would
understandably fear that their identities and assistance would not remain confidential.
Furthermore, if the FBI disclosed these individuals’ identities, they and their families could be
subjected to embarrassment, humiliation, and physical or mental harm. As such, releasing the
identities of or the information provided by these individuals would adversely affect them and
harm the FBI’s ability to recruit and maintain reliable sources in the future. Thus, the FBI properly
protected this information pursuant to Exemption (b)(7)(D).

EXEMPTION (b)(7)(E) — INVESTIGATIVE TECHNIQUES AND PROCEDURES

(91) Exemption (b)(7)(E) protects records or information compiled for law enforcement
purposes when release “would disclose techniques and procedures for law enforcement
investigations or prosecutions, or would disclose guidelines for law enforcement investigations or
prosecutions if such disclosure could reasonably be expected to risk circumvention of the law.” 5
U.S.C. § 552 (b)(7)(E).

(92) This exemption affords categorical protection to techniques and procedures used in
law enforcement investigations; it protects techniques and procedures that are not well-known to
the public as well as non-public details about the use of well-known techniques and procedures.

(93) Within the responsive documents, Exemption (b)(7)(E) has been applied to non-
public investigative techniques and procedures utilized by the FBI to pursue its law enforcement
mission, and also to non-public details about techniques and procedures that are otherwise known
to the public.

FBI Secure Fax Numbers, Internal E-mail Addresses, Non-Public Web
(b)(7)(E)-1: Addresses, and/or Internal E-mail Tools

(94) In coded category (b)(7)(E)-1, the FBI protected secure fax numbers, internal e-

mail addresses, non-public intranet web addresses, and secure internal e-mail tools. Releasing this

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information would provide criminals with specific targets for possible cyber-attacks and attacks
on FBI secure communications. Considering the current cyber-security environment where
government data breaches and other hacking attempts on government systems are prevalent, it is
likely that the release of this type of information could provide hackers with avenues to exploit the
FBI’s Information Technology system. It is possible they could use this information to gain
unauthorized access to FBI systems, view and/or manipulate sensitive investigative data, interfere
with the FBI’s non-public intranet protocol, and/or hinder the FBI’s ability to enforce the law by
disrupting the FBI’s internal communications. Releasing this information poses substantial risks
to FBI information systems, could potentially decrease the FBI’s effectiveness, and could enable
criminals to circumvent the law. Accordingly, the FBI asserted Exemption (b)(7)(E) to withhold
this information.
(b)(7)(E)-2: Database Identifiers/Printouts

(95) In coded category (b)(7)(E)-2, the FBI protected the identities of sensitive
investigative databases and database search results located through queries of these non-public
databases used for official law enforcement purposes by the FBI. The FBI also protected non-
public details about information located within the FBI’s PALM database, to include transaction
(tip) numbers, links between different tips, and how the FBI evaluated the investigative relevance
of certain tips. Releasing the identities of these databases and any information located through
queries of these databases would give criminals insight into the available tools and resources the
FBI uses to conduct criminal and national security investigations (i.e., the scope of information
stored within the databases, how the FBI uses the databases to support its investigations, the types
of information most valued by the FBI for particular investigations, and vulnerabilities of the

databases). As such, revealing this information would provide criminals with the avenue to

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discover how they might avoid providing the FBI with key information it could leverage to pursue
investigations of their criminal conduct; how they should structure their behavior to avoid
triggering investigative scrutiny by the FBI; and how they might gain access to these investigative
databases to exploit, destroy, and corrupt the information within these databases. Therefore release
of any of this information could enable criminals to deprive the FBI the utility of these key
investigative databases, and enable them to more effectively circumvent the law. Thus, the FBI
asserted Exemption (b)(7)(E) to withhold this information.
(b)(7)(E)-3: Collection/Analysis of Information

(96) Incoded category (b)(7)(E)-3, the FBI protected the methods the FBI uses to collect
and analyze information it obtains for investigative purposes. The release of this information
would disclose the identity of methods used in the collection and analysis of information, including
how and from where the FBI collects information and the methodologies employed to analyze it
once collected. Such disclosures would enable subj ects of FBI investigations to circumvent similar
currently used techniques. The relative utility of these techniques could be diminished if the actual
techniques were released in this matter. This in turn would facilitate the accumulation of
information by investigative subjects regarding the circumstances under which the specific
techniques were used or requested and the usefulness of the information obtained. Release of this
type of information would enable criminals to educate themselves about the techniques employed
for the collection and analysis of information and therefore allow these individuals to take
countermeasures to circumvent the effectiveness of these techniques and to continue to violate the
law and engage in intelligence, terrorist, and criminal activities. Accordingly, the FBI has properly

withheld this information pursuant to FOIA Exemption 7(E).

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(b)(7)(E)-4: Sensitive FBI File Numbers

(97) In coded category (b)(7)(E)-4, the FBI protected sensitive investigative file
numbers. The FBI determined Exemption (b)(7)(E) is appropriate for protecting these file
numbers as the release of file numbering conventions identifies the investigative interest or priority
given to such matters. The file numbers the FBI protected are not known to the general public.
These file numbers contain three separate portions. The first portions of these file numbers consists
of FBI file classification numbers which indicate the types of investigative/intelligence gathering
programs to which these files pertain. Many of the FBI’s classification numbers are public, which
makes disclosure of this information even more telling. Release of known file classification
numbers in the context of investigative records would immediately reveal the types of
investigations being pursued, and thus the types of investigative techniques and procedures
available to FBI investigators, and/or non-public facets of the FBI’s investigative strategies. For
example, revealing the FBI has a money laundering investigative file on a subject who was only
known to be investigated for crimes related to public corruption, would reveal key non-public
information about the FBI’s investigative strategies and gathered evidence. Additionally, releasing
non-public FBI file classification numbers would reveal critical information about non-public
investigative techniques and procedures, and provide criminals and foreign adversaries the ability
to discern the types of highly sensitive investigative strategies the FBI is pursuing whenever such
file classification numbers are present within these and other sensitive FBI investigative records.

(98) The protected investigative file numbers also contain two-letter office of original
codes, indicating which FBI field office or overseas FBI legal attaché originated the investigations
at issue. Providing this information, in many instances, would provide critical information about

where and how the FBI detected particular criminal behaviors or national security threats, and

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reveal key pieces about the FBI’s non-public investigations or intelligence/evidence gathering
sources and methods. Revealing this information could also risk disclosing unknown FBI
investigations or intelligence gathering initiatives, by revealing interests in varying areas of FBI
investigative responsibility. Releasing this information could also possibly provide significant
information about the FBI’s failure to detect certain types of criminal behavior. For example, a
criminal operating out of San Francisco, California with ties to a criminal organization under
investigation in the FBI’s Seattle Field Office, could request the FBI’s Seattle Field Office’s
investigative file. If the FBI were to reveal all of the originating office codes in the investigative
files present in Seattle’s file, and there was no indication the FBI ever pursued an investigation in
San Francisco, the criminal could reasonably assume the FBI failed to locate any evidence of their
wrongdoing, emboldening them to continue their activities, undeterred.

(99) The third portion of these investigative files consists of the numbers given to the
unique investigative initiatives these files were created to memorialize. Releasing these singular
file numbers would provide criminals and foreign adversaries with a tracking mechanism by which
they can place particular files/investigations within the context of larger FBI investigative efforts.
Continued release of sensitive investigative file numbers would provide criminals with an idea of
how FBI investigations may be interrelated and when, why, and how the FBI pursued different
investigative strategies. This would provide criminals with a means of judging where the FBI
allocates its limited investigative resources, how the FBI responds to different investigative
circumstances, what the FBI knows and when/how they obtained the knowledge, and if there are
knowledge-gaps in the FBI’s gathered intelligence.

(100) In summary, repeatedly releasing sensitive FBI investigative file numbers would

allow determined criminals and foreign adversaries to obtain an exceptional understanding of the

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body of investigative intelligence available to the FBI; and where, who, what and how it is
investigating certain detected activities. Release of this information would enable these criminals
and foreign adversaries to predict FBI investigations and structure their behavior to avoid detection
and disruption by FBI investigators, enabling them to circumvent the law. Accordingly, the FBI
properly asserted FOIA Exemption (b)(7)(E) to protect this type of information.
SEGREGABILITY

(101) As discussed previously, the FBI reviewed a total of 2,579 responsive pages and
released 23 pages in full and 2,029 pages in part. The FBI also withheld 527 pages in full, pursuant
to FOIA exemptions or because they were duplicates of other records processed in this case. The
FBI reviewed each page, line-by-line, to identify exempt information and where reasonably
possible, to segregate and release non-exempt information to Plaintiffs.

(a) Pages Released In Part. Following the segregability review, RIDS
determined 2,029 pages could be released in part with redactions based on the FOIA exemptions
identified on the pages released to Plaintiffs. These pages comprise a mixture of material that
could be, and was, segregated for release and material that was withheld as release would trigger
foreseeable harm to one or more interest protected by the FOIA exemptions cited on these pages.
Once all exemptions were applied, the FBI concluded that there was not further information that
could be segregated and released to Plaintiffs, beyond what they were provided, because further
segregation risked revealing exempt information or because further segregation would result in the
release of nothing more than random words or sentence fragments without meaningful
informational content.

(b) Pages Withheld in Full Pursuant to FOIA Exemptions. DOJ and WHCO

were consulted about the supplemental background investigation file. Following their review, they

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advised the FBI to withhold the supplemental background investigation file, consisting of 527
pages, in full. No information was identified as being available to segregate and release, due to
the risk of revealing privileged information.

(c) Pages Withheld in Full As Duplicates. The FBI identified 65 pages of
duplicates within the responsive records. It is the FBI’s standard practice not to process duplicate
pages, as doing so expends finite processing resources with a net result of no additional information
being released to requesters.

CONCLUSION

(102) The FBI performed adequate and reasonable searches for records subject to the
FOIA and responsive to Plaintiffs’ requests, and located the specific documents requested by
Plaintiffs. The FBI processed the responsive records under the access provisions of the FOIA to
provide maximum disclosure. The FBI released all reasonably segregable non-exempt information
to Plaintiffs, and properly withheld exempt information pursuant to FOIA Exemptions (b)(3),
(b)(6), (b)(7)(A), (b)(7)(C), (b)(7)(D), and (b)(7)(E). Further, the FBI carefully examined the
responsive documents and determined the information withheld from Plaintiffs, if disclosed, would
reveal information protected from disclosure by statute; would cause a clearly unwarranted
invasion of personal privacy, or could reasonably be expected to constitute an unwarranted
invasion of personal privacy; could reasonably be expected to disclose the identity of and
information provided by confidential sources; and/or would disclose techniques and procedures
for law enforcement investigations. After extensive review of the documents at issue, the FBI
determined that there is no further non-exempt information that can be released to Plaintiffs.
Finally, following consultation with DOJ and WHCO, the FBI withheld the supplemental

background investigation file in full pursuant to Exemption (b)(5) based on the determination that

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it is subject to the presidential communications privilege and that no information within the file
could be disclosed without revealing privileged information.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct, and Exhibits “ee V are true and correct copies.

Executed this oS day of October, 2019.

David M. Hardy >

 

Section Chief

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